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18
                                    UNITED STATES DISTRICT COURT
19                                NORTHERN DISTRICT OF CALIFORNIA
                                       SAN FRANCISCO DIVISION
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     THE REGENTS OF THE UNIVERSITY OF                     CASE NO. 17-CV-05211-WHA
21   CALIFORNIA and JANET NAPOLITANO,
     in her official capacity as President of the         [PROPOSED] PROTECTIVE ORDER
22   University of California,

23                          Plaintiffs,

24                  v.

25   U.S. DEPARTMENT OF HOMELAND
     SECURITY and ELAINE DUKE, in her
26   official capacity as Acting Secretary of the
     Department of Homeland Security,
27
                            Defendants.
28


               UNOPPOSED MOTION FOR PROTECTIVE ORDER AND [PROPOSED] PROTECTIVE ORDER
                         All DACA Cases (Nos. 17-5211, 17-5235, 17-5329, 17-5380, 17-5813)
1    STATE OF CALIFORNIA, STATE OF                     CASE NO. 17-CV-05235-WHA
     MAINE, STATE OF MARYLAND, and
2    STATE OF MINNESOTA,

3                          Plaintiffs,

4                   v.

5    U.S. DEPARTMENT OF HOMELAND
     SECURITY, ELAINE DUKE, in her official
6    capacity as Acting Secretary of the Department
     of Homeland Security, and the UNITED
7    STATES OF AMERICA,

8                          Defendants.

9    CITY OF SAN JOSE, a municipal corporation,        CASE NO. 17-CV-05329-WHA
10                         Plaintiffs,
11                  v.
12   DONALD J. TRUMP, President of the United
     States, in his official capacity, ELAINE C.
13   DUKE, in her official capacity, and the
     UNITED STATES OF AMERICA,
14
                           Defendants.
15
     DULCE GARCIA, MIRIAM GONZALEZ                     CASE NO. 17-CV-05380-WHA
16   AVILA, SAUL JIMENEZ SUAREZ,
     VIRIDIANA CHABOLLA MENDOZA,
17   NORMA RAMIREZ, and JIRAYUT
     LATTHIVONGSKORN,
18
                           Plaintiffs,
19
                    v.
20
     UNITED STATES OF AMERICA, DONALD
21   J. TRUMP, in his official capacity as President
     of the United States, U.S. DEPARTMENT OF
22   HOMELAND SECURITY, and ELAINE
     DUKE, in her official capacity as Acting
23   Secretary of Homeland Security,
24                         Defendants.
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               UNOPPOSED MOTION FOR PROTECTIVE ORDER AND [PROPOSED] PROTECTIVE ORDER
                          All DACA Cases (Nos. 17-5211, 17-5235, 17-5329, 17-5380, 17-5813)
1    COUNTY OF SANTA CLARA and                        CASE NO. 17-CV-05813-WHA
     SERVICE EMPLOYEES INTERNATIONAL
2    UNION LOCAL 521,
3                         Plaintiffs,
4                  v.
5    DONALD J. TRUMP, in his official capacity
     as President of the United States, JEFFERSON
6    BEAUREGARD SESSIONS, in his official
     capacity as Attorney General of the United
7    States; ELAINE DUKE, in her official
     capacity as Acting Secretary of the Department
8    of Homeland Security; and U.S.
     DEPARTMENT OF HOMELAND
9    SECURITY,
10                        Defendants.
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              UNOPPOSED MOTION FOR PROTECTIVE ORDER AND [PROPOSED] PROTECTIVE ORDER
                        All DACA Cases (Nos. 17-5211, 17-5235, 17-5329, 17-5380, 17-5813)
                                   1          IT IS HEREBY ORDERED that, pursuant to Federal Rule of Civil Procedure 5.2(e)(1),

                                   2   Plaintiffs may redact the following categories of information from their declarations in support of

                                   3   Plaintiff’s Motion for a Preliminary Injunction and from any exhibits to those declarations:

                                   4          1. alien registration numbers,

                                   5          2. USCIS account numbers,

                                   6          3. annual income and annual expenses,, and

                                   7          4. employment authorization card numbers and categories.

                                   8

                                   9   IT IS SO ORDERED.

                                  10

                                  11   DATED: ________________________
                                               November 1, 2017.                 _____________________________________

                                  12                                                   The Honorable William H. Alsup
Northern District of California
 United States District Court




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                                                 UNOPPOSED MOTION FOR PROTECTIVE ORDER AND [PROPOSED] PROTECTIVE ORDER
                                                           All DACA Cases (Nos. 17-5211, 17-5235, 17-5329, 17-5380, 17-5813)
